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Anti-Age Technologies, LLC                    )
                                              )
v.                                            )          Case No. 19-cv-2581
                                              )
THE PARTNERSHIPS and                          )          Judge: Hon. Manish S. Shah
UNINCORPORATED ASSOCIATIONS                   )
IDENTIFIED ON SCHEDULE “A,”                   )          Magistrate: Hon. Sunil R. Harjani
                                              )
                                              )


                                       Voluntary Dismissal

         Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Anti-Age Technologies,

voluntarily dismiss any and all claims against defendants without prejudice:

Doe # Marketplace       Seller Name                   Seller ID
     64 amazon       UltraMyLife        A2G8B8W07BK8CQ
      73 ebay        greenworld2014     greenworld2014
      84 ebay        reflection9        reflection9
     126 wish        pengdu369          56a848751a85c30f4a743b44
     151 wish        oktyabrsky         5795c27a0711b828e2e56493
     197 wish        xiaocaotongzhuang 58a2c01e86e7c75c6188f569
     281 wish        aiqiangyoudian     592eac8420e1bf5cd2d79a07
     329 wish        sdfnuhrg           59a2c8559fbc510df0d1f3b4



Dated: May 15, 2019
                                              Respectfully submitted,



                                              By:         s/David Gulbransen/
                                                         David Gulbransen
                                                         Attorney of Record

                                                         David Gulbransen (#6296646)
                                                         Law Office of David Gulbransen
                                                         805 Lake Street, Suite 172
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                                         Oak Park, IL 60302
                                         (312) 361-0825 p.
                                         (312) 873-4377 f.
                                         david@gulbransenlaw.com




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